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                            U NITED STATES DISTW CT C O URT
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                            SOU TH ERN DISTRICT OF FLO RIDA                                                                            ;
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                               CASE N O .17-cr-80242-R O SENBERG                                                                       :
                                                                                    STEVEN M.I..ARIVQ-f'tE'              '
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   UNITED STATES O F AM EW CA                                            F'ftzt)iy c'nq                       p.c.
         V.
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   ALEJAND RO ANDR ADE CEDENO ,                                             STEvEN M LARIMORE
                                                                             ctfcilub 51s::cT.
                                                                        p    s.D.oFébi.-WRB.
          Defendant.
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                               UNO PPO SED M OTIO N TO U NSEAL

         N 0W COM ES the U nited States ofA m erica,by mzd through its undersigned attom eys,

   and respectfully requeststhatthe docketin the above-captioned case be unsealed and thata11

   individual docket entries be unsealed except for those that have been sealed pursuant to an

   independentsealing order.

          On Decem ber 22,2017,the U nited States soughtto seal,and the Courtso ordered,the

   nam e ofthe defendantand al1docketentries,exceptthe M otion to Seal.N otably,therequestw as

   madetopreservethe integrity ofcontinuing investigationsofadditionalindividualsand entities,

   mldtopreventtherisk offlightordestruction ofevidence. In addition,therew&stheexistenceof

   possible dangerto the defendantand hisrelativeshad the disclosure ofthecasebeen disclosed

   prepaturely.Although dangerstillexists,allavailablemeasttreshavebeentakentomitigateany

   such issues. Therefore,in lightoftheupcoming sentencing,the United Statesrequeststhatthe

   Courtrevertback to norm aldocketing procedures.

          The United Stateshas consulted w ith defendant's cotm selregarding this m otion,and tbe

   defendantdoesnotopposethe reliefrequested.
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         W H EREFORE,the United States of Am erica respectfully m ovesthis Courtto directthat

   thedocketin theabove-captionedcasebeunsealed asdesignatedabove.



                                                  SAN DRA M O SER
                                                  A CTING CHIEF,FR AU D SECTION
                                                  Crim inalDivision
                                                  U .S.Departm entofJustice


   Date: 11 q m lf                          By:                                    '
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